Case 1:18-cv-00267-STV Document 2 Filed 02/01/18 USDC Colorado Page 1 of 7




DISTRICT COURT, DENVER COUNTY, COLORADO
1437 Bannock St. Rm 256
Denver, CO 80202                   DATE FILED: November 14, 2017 10:11 AM
                                                    FILING ID: BCF97B5C6A7EA
                                                    CASE NUMBER: 2017CV34228
Plaintiff:   KENNETH SPAKE

v.

Defendant: UFG SPECIALTY INSURANCE COMPANY
                                                                        COURT USE ONLY

Attorneys for Plaintiff:                                          Case Number:
Robert R. Harper, #48454
Law Offices of Dianne Sawaya, LLC
4500 Cherry Creek Drive South, Suite 1030                         Division:
Denver, CO 80246
Phone Number: (303) 758-4777
Fax Number: (303) 758-4779
E-mail: rharper@dlslawfirm.com


                                        COMPLAINT


       COMES NOW, Plaintiff, Kenneth Spake, by and through his attorney, Robert R. Harper
at the Law Offices of Dianne Sawaya, LLC, and for his complaint against Defendant UFG
Specialty Insurance Company, states as follows:

                              PARTIES AND JURISDICTION

        1.     At all times relevant herein, Plaintiff Kenneth Spake (hereinafter “Plaintiff”)
               resides at 10927 Melody Drive, Northglenn, CO 80234.

        2.     Upon information and belief, at all times relevant hereto, Defendant, UFG
               Specialty Insurance Company, also known as United Fire Group (hereinafter
               “Defendant UFG”), is and was an insurance company authorized to do business in
               the State of Colorado and was doing business in the State of Colorado, with its
               registered agent, Colorado Department of Insurance, located 1560 Broadway,
               Denver, CO 80202.

        3.     Upon information and belief, at all times relevant hereto, the underinsured
               tortfeasor, Richard Steinhour, is and was a resident of the City of Laramie,
               County of Albany, State of Wyoming, and at the time of the automobile collision
               discussed herein, resided P.O. Box 2241, Laramie, WY 82073.



                                              1
Case 1:18-cv-00267-STV Document 2 Filed 02/01/18 USDC Colorado Page 2 of 7




     4.    Venue and Jurisdiction are proper in the County of Denver, State of Colorado, as
           at all times relevant herein, Defendant UFG can be found doing business and
           servicing claims of its insureds in Denver, Colorado. Further, Defendant UFG
           sells insurance and is licensed to do business in Denver, Colorado.

     5.    Therefore, venue is proper pursuant to C.R.C.P. Rule 98.


                              GENERAL ALLEGATIONS

     6.    Plaintiff repeats and re-alleges each and every previous allegation of the Complaint
           and incorporates the same herein by reference as though set forth in full.

     7.    The incident giving rise to this action occurred on Interstate 70 at MM 261 in the
           City of Golden, County of Jefferson, State of Colorado.

     8.    On July 14, 2014, at or about 8:26 a.m., Plaintiff Kenneth Spake was the driver
           of his 1993 Kenworth Truck Tractor, traveling on Eastbound Interstate 70, when
           Richard Steinhour switched lanes from the first lane and collided with another
           vehicle in the second lane.

     9.    Thereafter, Richard Steinhour’s vehicle began to spin out of control and collided
           with Plaintiff Kenneth Spake in the third lane, both of which were traveling in the
           same direction.

     10.   Both vehicles remained stuck together, collided with the guard rail in middle of I-
           70, which resulted in both vehicles coming to rest on the side ditch of I-70.

     11.   The sole cause of the subject motor vehicle collision was Mr. Steinhour’s careless
           driving by switching lanes without a clear path to do so.

     12.   At all times relevant herein, Plaintiff acted reasonably under the circumstances.

     13.   At all times relevant herein, Plaintiff mitigated his damages.

     14.   Plaintiff is the proper party to bring this claim.

     15.   As a direct and proximate result of the motor vehicle collision giving rise to this
           action, Plaintiff has been forced to incur medical bills for treatment in the amount
           of approximately $82,656.18 and will continue to incur additional medical bills in
           the future.

     16.   As a direct and proximate result of the July 14, 2014 motor vehicle collision,
           Plaintiff has sustained serious permanent injuries, damages, and losses.




                                              2
Case 1:18-cv-00267-STV Document 2 Filed 02/01/18 USDC Colorado Page 3 of 7




     17.   As a direct and proximate result of the July 14, 2014 motor vehicle collision,
           Plaintiff has sustained physical impairment.

     18.   As a direct and proximate result of the July 14, 2014 motor vehicle collision,
           Plaintiff has sustained and will sustain in the future loss of earnings and loss of
           earning capacity, and other economic damages, costs, losses, and expenses.

     19.   As a direct and proximate result of the July 14, 2014 motor vehicle collision,
           Plaintiff suffered mental anguish, pain and suffering, permanent disability, loss of
           enjoyment of life, and other non-economic damages.

     20.   At all times relevant to this action, Plaintiff was legally entitled to recover
           damages from the tortfeasor, Mr. Richard Steinhour, as a result of bodily injury
           sustained by Plaintiff.

     21.   At all times relevant to this action, and at the time of the underlying motor vehicle
           collision on July 14, 2014, the tortfeasor’s vehicle was insured by a bodily injury
           liability bond or policy issued by Progressive Direct Insurance Company that was
           insufficient to fully compensate Plaintiff for damages arising from bodily injury
           caused by the tortfeasor to which Plaintiff was legally entitled.

     22.   At all times relevant to this action, including the date of the subject motor vehicle
           collision, July 14, 2014, Plaintiff was an “insured person” with Defendant UFG
           through an insurance policy, number 60444930, as defined therein, which was in
           full force and effect, sold by Defendant UFG, and purchased by Plaintiff, which in
           part provided for underinsured motorist benefits pursuant to C.R.S. 10-4-609(4).

     23.   The insurance policy providing coverage to Plaintiff, and issued by Defendant
           UFG to Plaintiff, number 60444930, included uninsured/underinsured motorist
           coverage, which provided that Defendant UFG pay all sums which an insured is
           legally entitled to recover as damages from the owner or operator of an
           “underinsured motor vehicle” because of bodily injury sustained by the insured
           person (insured person defined in part as “Any other person while occupying your
           insured car”), in the instant, Plaintiff, as a result of the use of the underinsured
           motor vehicle.

     24.   Upon information and belief, Defendant UFG is liable for the negligence of the
           underinsured tortfeasor for damages to which the Plaintiff is legally entitled to
           recover under the aforementioned uninsured/underinsured motorist policy
           coverage, for which Plaintiff paid premiums, per C.R.S. 10-4-609(1)(a) & C.R.S.
           10-4-609(1)(c).

     25.   Defendant UFG has breached the contract of insurance and policy #60444930 by
           failing to pay uninsured/underinsured benefits owed to Plaintiff pursuant to
           Defendant UFG own policy, number 60444930, an insurance contract entered into
           with Plaintiff.



                                             3
Case 1:18-cv-00267-STV Document 2 Filed 02/01/18 USDC Colorado Page 4 of 7




     26.     As of the date of the filing of this Complaint, Defendant has refused to pay
             Plaintiff the underinsured motorist benefits under the policy Defendant UFG
             issued to Plaintiff to properly compensate insured persons, including Plaintiff
             here, for damages to which he is entitled.

     27.     Plaintiff is legally entitled to recover compensatory damages for bodily injury
             from uninsured/underinsured owner/operator Mr. Richard Steinhour, including but
             not limited to past, present, and future economic and non-economic damages, in
             an addition permanent impairment and/or disfigurement.

     28.     As the direct and proximate result of the negligence of the underinsured
             tortfeasor, and as a direct and proximate result of the breach of contract of
             Defendant UFG, Plaintiff has incurred past and future economic losses which
             include loss of home services, lost wages, reasonable and necessary past and
             future medical expenses including, but not limited to, physician, hospital, physical
             therapy, injection therapy, orthopedic care, imaging, prescription medications,
             and other expenses.

     29.     As the direct and proximate result of the negligence of the underinsured
             tortfeasor, and as a direct and proximate result of the breach of contract of
             Defendant UFG, Plaintiff has suffered permanent physical impairment,
             disfigurement, past and future pain and suffering, loss of the value of his time,
             loss of enjoyment of life, and other non-economic damages. Plaintiff will be
             prevented from engaging in certain social and recreational activities normal to his
             lifestyle prior to this incident and will otherwise be prevented from participating
             in and enjoying the benefits of a full and complete life.

     30.     Accordingly, Plaintiff seeks general and special damages from Defendant UFG as
             a direct and proximate consequence of the injuries and damages suffered as a
             result of the underinsured tortfeasor’s negligence as well as of Defendant UFG’s
             breach of contract.

                              FIRST CLAIM FOR RELIEF
           (Breach of Contract – Uninsured/Underinsured Motorist Benefits Claim)

     31.     Plaintiff repeats and re-alleges each and every previous allegation of the Complaint
             and incorporates the same herein by reference as though set forth in full.

     32.     At the time of the July 14, 2014 motor vehicle collision, Plaintiff was insured
             through an insurance contract and policy issued by Defendant UFG to, which in
             part provided uninsured/underinsured motorist protection benefits and coverage,
             through effective policy number 60444930.

     33.     The insurance policy issued by Defendant to Plaintiff, included
             uninsured/underinsured motorist coverage, which provides that Defendant UFG



                                              4
Case 1:18-cv-00267-STV Document 2 Filed 02/01/18 USDC Colorado Page 5 of 7




           will pay its insured compensatory damages for bodily injury which an insured
           person is legally entitled to recover from the owner or operator of an underinsured
           motor vehicle.

     34.   At all times relevant to this action, and at the time of the underlying motor vehicle
           collision on July 14, 2014, the tortfeasor’s vehicle was insured by a bodily injury
           liability policy issued by Progressive Direct Insurance Company that was
           insufficient to fully compensate Plaintiff for damages arising from bodily injury
           caused by the tortfeasor to which Plaintiff was legally entitled.

     35.   Upon information and belief, Defendant UFG is liable for the negligence of the
           underinsured tortfeasor, and therefore, also liable for the resulting losses to
           Plaintiff under aforementioned uninsured/underinsured motorist policy coverage,
           for which Plaintiff paid premiums, per C.R.S. 10-4-609(1)(a) & C.R.S. 10-4-
           609(1)(c).

     36.   Defendant UFG has breached the contract of insurance and insurance policy
           number 60444930 by failing to pay uninsured/underinsured benefits owed to
           Plaintiff pursuant to Defendant UFG’s own policy and contract entered into with
           Plaintiff, for the benefit of the Plaintiff.

     37.   Plaintiff is legally entitled to recover compensatory damages for bodily injury
           from the underinsured owner/operator Mr. Richard Steinhour as a result of his
           negligent conduct at the time of the subject motor vehicle collision; these
           damages include, but are not limited to past, present, and future economic and
           non-economic damages, in an addition permanent impairment and/or
           disfigurement.

     38.   As of the date of the filing of this Complaint, Defendant has refused to pay
           Plaintiff the underinsured motorist benefits under the policy Defendant UFG
           issued to Plaintiff to properly compensate insured persons, including Plaintiff
           here, for damages to which he is entitled.

     39.   As the direct and proximate result of the negligence of the underinsured
           tortfeasor, and as a direct and proximate result of the breach of contract of
           Defendant UFG, Plaintiff has incurred past and future economic losses which
           include loss of home services, lost wages, reasonable and necessary past and
           future medical expenses including, but not limited to, physician, hospital, physical
           therapy, injection therapy, orthopedic care, imaging, prescription medications,
           and other expenses.

     40.   As the direct and proximate result of the negligence of the underinsured
           tortfeasor, and as a direct and proximate result of the breach of contract of
           Defendant UFG, Plaintiff has suffered permanent physical impairment,
           disfigurement, past and future pain and suffering, loss of the value of his time,
           loss of enjoyment of life, and other non-economic damages. Plaintiff will be



                                             5
Case 1:18-cv-00267-STV Document 2 Filed 02/01/18 USDC Colorado Page 6 of 7




               prevented from engaging in certain social and recreational activities normal to his
               lifestyle prior to this incident and will otherwise be prevented from participating
               in and enjoying the benefits of a full and complete life.

       41.     Accordingly, Plaintiff seeks general and special damages from Defendant UFG as
               a direct and proximate consequence of the injuries and damages suffered as a
               result of the underinsured tortfeasor’s negligence as well as of Defendant UFG’s
               breach of contract.

       42.     At all times relevant hereto, Plaintiff has complied with all conditions precedent
               to coverage as an insured person under the insurance policy issued by Defendant
               UFG.

       43.     To the extent that Plaintiff has failed to comply with any of the contractual
               obligations, Defendant UFG has not been prejudiced by the failure to comply.

       44.     To the extent that Plaintiff has failed to comply with any of the contractual
               obligations, Defendant UFG may not rely on this failure to comply because it
               breached one or more material obligations under the policy prior to any alleged
               failure to comply of Plaintiff.

       45.     At the time of the subject motor vehicle collision on July 14, 2014, the driver at
               fault for the collision, as well for Plaintiff’s bodily injuries and damages
               stemming therefrom, was underinsured within the meaning of underinsured as set
               forth in the insurance contract between Plaintiff and Defendant UFG.

       46.     Defendant UFG is legally required to pay Plaintiff’s damages pursuant to the
               underinsured motorist coverage section of the above stated insurance policy in
               effect on the date of injury on July 14, 2014.

       47.     As of the date of filing this Complaint, Defendant UFG has not made an offer of
               uninsured/underinsured motorist benefits to properly compensate Plaintiff for his
               injuries.

        WHEREFORE, Plaintiff sues Defendant UFG for compensatory damages, underinsured
motorist benefits, and breach of contract and accordingly requests that this honorable Court enter
judgment in his favor and against Defendant in an amount to fairly compensate the Plaintiff, to
be determined at trial, together with statutory interest accrued from the date of the subject
accident or as otherwise permitted under Colorado law, court costs, expert witness fees,
reasonable attorney’s fees, any other such relief as the Court deems just and proper. Plaintiff
prays for the following relief:

       (a)            For an amount which will reasonably compensate the Plaintiff for past,
                      present and future economic loss;
       (b)            For an amount which will reasonably compensate the Plaintiff for medical
                      expenses, past and future;



                                                6
Case 1:18-cv-00267-STV Document 2 Filed 02/01/18 USDC Colorado Page 7 of 7




      (c)          For an amount which will reasonably compensate the Plaintiff for
                   permanent limitation, injuries, and/or disfigurement, limitations and or
                   disabilities of the body and/or mind;
      (d)          For an amount which will reasonably compensate the Plaintiff for non-
                   economic damages, including but not limited to pain and suffering, past
                   and future;
      (e)          For an amount which will reasonably compensate the Plaintiff for loss of
                   enjoyment of life and/or the capacity of life;
      (f)          For an amount which will reasonably compensate the Plaintiff for breach
                   of contract;
      (g)          Reasonable attorney’s fees and costs incurred in bringing this action;
      (h)          For interest as provided by statute from the date of the collision which
                   forms the basis of the complaint to the date of verdict or judgment, and for
                   costs and fees incurred in the prosecution of the matter and for any other
                   and further relief as the Court may deem just and proper.

Dated: November 14, 2017                 Respectfully Submitted,

                                         Law Offices of Dianne Sawaya, LLC




                                         ________________________________

                                         Robert R. Harper, Esq.
                                         Law Offices of Dianne Sawaya, LLC
                                         4500 Cherry Creek Drive South, Suite 1030
                                         Denver, CO 80246
                                         (303) 758-4777
                                         Attorney for the Plaintiff




                                            7
